   Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 1 of 16


                                                        Minimum Mandatory
                                                               Rule 35/5KL1    X

                                                              Appeal Waiver X
                                                                       Other   X



                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION

UNITED STATES OF AMERICA



       V.                                          Case No. 2:18-cr-050

EBONI GRANT


                      SUMMARY OF PLEA AGREEMENT



DEFENSE COUNSEL:

Juanita Holsey

STATUTES CHARGED:


Count 1: 21 U.S.C. §846- Conspiracy to Possess with Intent to Distribute
Controlled Substances (cocaine base)

Count 20: 21 U.S.C. §841 -Possession with Intent to Distribute Controlled
Substances (cocaine base)

Count 21: 18 U.S.C. §924(c) — Possession of a Firearm in Furtherance of Drug
Trafficking

COUNT PLEADING TO:

Count 1: 21 U.S.C. §846 — Conspiracy to Possess with Intent to Distribute
Controlled Substances (cocaine base)

STATUTORY PENALTIES:
Imprisonment of not more than 20 years;
Fine of not more than $1,000,000;
Supervised release term of at least 3 years;
$100 special assessment.

*Other-FOIA and Fed. R. Crim. P. 11(f) waivers
  Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 2 of 16




ELEMENTS OF THE OFFENSE:



     First:         That two or more people in some way agreed to try to accomplish
                    a shared and unlawful plan to possess quantities of a mixture or
                    substance containing detectable amount of cocaine base, a
                    Schedule II controlled substance;

     Second:        That the Defendant knew the unlawful purpose of the plan and
                    willfully joined in it; and

     Third:       That the object of the unlawful plan was to possess with the
                  intent to distribute and distribute the cocaine base.


TERMS OF PLEA AGREEMENT:


   •Defendant will plead guilty to Count 1 of the Superseding Indictment.

   •At sentencing, the government will move to dismiss any other Counts of the
     Superseding Indictment that remain pending against this Defendant.

   •Defendant agrees to provide full, complete, candid, and truthful cooperation to
      the government. The government, in its sole discretion, will decide whether
      that cooperation qualifies as "substantial assistance" that warrants the filing
      of a motion for downward departure or reduction in sentence.

   • The government will not object to a recommendation by the U.S. Probation
      Office that Defendant receive an appropriate reduction in offense level foi*
      her acceptance of responsibihty pursuant to Section 3E1.1 of the Sentencing
      Guidelines.

  •At sentencing, the government will recommend that Defendant be sentenced
    to the lower end of the guidehnes.

  • Defendant waives her right to appeal on any ground, with only three
      exceptions: she may appeal her sentence if (1) that sentence exceeds the
      statutory maximum,(2)that sentence exceeds the advisory Guidelines range
      determined by this Court at sentencing, or (3) the government appeals. By
      signing the plea agreement. Defendant exphcitly instructs her attorney not
      to file an appeal unless one of the three exceptions is met.
Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 3 of 16




  Defendant entirely waives her right to collaterally attack her conviction and
   sentence on any ground and by any method,including but not limited to a 28
    U.S.C.§ 2255 motion. The only exception is that Defendant may collaterally
    attack her conviction and sentence based on a claim of ineffective assistance
    of counsel.

  Defendant waives all rights to request information about the investigation and
    prosecution of his case under the Freedom of Information Act or the Privacy
    Act.


  Defendant waives the protections of Rule 11(]^ of the Federal Rules of Criminal
    Procedure and Rule 410 ofthe Federal Rules ofEvidence. Ifshe fails to plead
    guilty, or later withdraws her guilty plea, all statements made by her in
    connection with that plea, and any leads derived therefrom, shall be
    admissible for any and all purposes.
     Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 4 of 16




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

UNITED STATES OF AMERICA



        V.                                            Case No. 2:18 CR 50

EBONIGRANT



                                PLEA AGREEMENT

        Defendant, represented by her counsel Juanita Holsey, and the United States

of America, represented by Assistant United States Attorneys Jennifer Kirkland and

Marcela C. Mateo, have reached a plea agreement in this case. The terms and

conditions of that agreement are as follows:

1.      COUNTS TO WHICH DEFENDANT PLEADS GUILTY

        Defendant agrees to enter a plea of guilty to Count One of the Superseding

Indictment, which charges a violation of Title 21, United States Code, Section 846.

2.      ELEMENTS AND FACTUAL BASIS

        The elements necessary to px*ove Count One are (1)That two or more people in

some way agreed to try to accomplish a shared and unlawful plan to possess a

quantity of a mixture or substance containing a detectable amount of cocaine base, a

Schedule II controlled substance, and (2) That the Defendant knew the unlawful

purpose of the plan and willfully joined in it; and (3) That the object of the unlawful

plan was to possess with the intent to distribute and to distribute the controlled

substance. Defendant agrees that she is, in fact, guilty of this offense. She agrees to
     Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 5 of 16




the accuracy of the following facts, which satisfy each of the offense's required

elements:


        Beginning on a date unknown to the Grand Jury, but at least as early as

October 2017, up to November 2018, the precise dates being unknown,in Glynn and

surrounding counties, within the Southern District of Georgia, and elsewhere, the

defendant, EBONI GRANT, aided and abetted by co-defendants and by others
known and unknown, did knowingly and intentionally combine,conspire, confederate

and agree together and with each other, and with others known and unknown, to

possess with intent to distribute and to distribute a quantity of a mixtime or

substance containing a detectable amount of cocaine base, a Schedrde II controlled

substance. All in violation of Title 21, United States Code, Sections 841(a)(1) and

846.


3.      POSSIBLE SENTENCE

        Defendant's guilty plea to Count One will subject her to the following

maximum possible sentence: Imprisonment of not more than 20 years, a supervised

relea.se term of at least 3 years, a $1,000,000 fine, such restitution as may be ox*dere<l

by the Court, and forfeiture of all forfeitable assets. The Court additionally must

impose a $100 special assessment.

4.      NO PROMISED SENTENCE

        No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the
     Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 6 of 16




government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

her plea of guilty if she receives a more severe sentence than she expects.

5.      COURT'S USE OF SENTENCING GUIDELINES

        The Com't is obhgated to use the United States Sentencing Guidelines to

calculate the apphcable guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidehnes suggest. The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidelines are based on^of Defendant's relevant conduct, piursuant to U.S.S.G. §

IB1.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.



6.      AGREEMENTS REGARDING SENTENCING GUIDELINES

        a.    Use ofInfonnation

        Nothing in this agreement precludes the Government from providing full and

accurate information to the Court and U.S.Probation Office for use in calculating the

applicable Sentencing Guidelines range.

        b.   Acceptance ofResponsibility

        The Government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of
     Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 7 of 16




responsibility pursuant to Section 3E1.1(a) ofthe Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the Government will

move for an additional one-level reduction in offense level pursuant to Section

3E1.1(b) ofthe Sentencing Guidelines based on Defendant's timely notification of her

intention to enter a guilty plea.

        c.    Low-end Guideline Recommendation

        As part of this plea agreement, the Government will recommend that

Defendant be sentenced to the lower end of the guidehnes. However, no one has

promised Defendant that the Court wiU impose any particular sentence or a sentence

within any particular range.

7.      COOPERATION


        a.    Complete and Truthful Cooperation

        This agreement does not require the Defendant to cooperate. However, the

Defendant, if she chooses to cooperate, must provide fuU, complete, candid, and

truthful cooperation in the investigation and pi'osecution of the o^enses charged in

his Information and any related offenses. Defendant shall fully and truthfully

disclose his knowledge of those offenses and shall fully and truthfully answer any

question put to his by law enforcement officers about those offenses.

        This agreement does not require Defendant to "make a case" against any

particular person. His benefits under this agreement are conditioned only on his
     Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 8 of 16




cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.

        b.    Motion for Reduction in Sentence Based on Cooperation

        The government, in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G.§ 5K1.1 or Fed.

R. Crim. P. 35 and thereby warrants the filing of a motion for downward departiu'e

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent. Defendant's sentence should be

reduced. The Coimt is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.

8.      FINANCIAL OBLIGATIONS AND AGREEMENTS

        a.    Restitution


        The amount ofrestitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not hmited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended, to and will survive Defendant, notwithstanding the abatement of any

underlying criminal conviction.

        b.    Special Assessment

        Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

        c.    Required Financial Disclosures
  Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 9 of 16




        By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form hsting all his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        d.    Financial Eocamination

        Defendant will submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer of Assets


        Defendant certifies that she has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obhgations

created by this Agreement or that may be imposed upon her by the Court at

sentencing. Defendant promises that she will make no such transfers in the future.

        f.    Material Change in Circumstances
  Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 10 of 16




       Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C.§ 3664Gs), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing,

       g.    Enforcement

      Any payment schedule imposed by the Com-t is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obHgations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obHgations imposed by the judgment ofthe

Court in this case will be placed on the Treasiuy Offset Program so that any federal

pasonent that Defendant receives may be offset and appHed to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

9.    WAIVERS

      a.     Waiver ofAppeal

      Defendant entirely waives his right to a direct appeal of his conviction and

setitexice on any ground, (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope ofthe statute). The only exceptions are that the Defendant may

file a direct appeal ofhis sentence if(1)the court enters a sentence above the statutory

maximum,(2)the com-t enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the
  Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 11 of 16




sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

       b.     Waiver of Collateral Attack

       Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.

       c.    FOIA and Privacy Act Waiver

       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive fi'om any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and aU subsequent amendments thereto.

       d.    Fed. R. Crim. P. 11(f)and Fed. R. Evid. 410 Waiver

      Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Fvidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead gxiilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.




                                            8
  Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 12 of 16




10.    DEFENDANT'S RIGHTS

       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which she will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

11.   SATISFACTION WITH COUNSEL

      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant beheves that his attorney has represented his faithfully, skillfully, and

dihgently, and she is completely satisfied with the legal advice given and the work

performed by his attorney.

12.   BREACH OF PLEA AGREEMENT

      IfDefendant fails to plead guilty, withdraws or attempts to withdraw his guilty

plea, commits any new criminal conduct following tlie execution of this agreement, or

otherwise breaches this agreement, the Government is released from all of its

agreements regarding Defendant's sentence, including any agreements regarding the

calculation of Defendant's advisory Sentencing Guidehnes.             In addition, the

Government may declare the plea agreement null and void, reinstate any counts that

may have been dismissed pursuant to the plea agreement, and/or file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant


                                           9
  Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 13 of 16




waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.




                                       10
 Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 14 of 16




13.    ENTIRE AGREEMENT

       This agreement contains the entire agreement between the Government and

Defendant. The Government has made no promises or representations except those
set forth in writing in this Plea Agreement. The Government further denies the

existence of any other terms or conditions not stated herein. No other promises,
terms or conditions will be entered into unless they are in writing and signed by all
the parties.

                                       BOBBY L. CHRISTINE
                                       UNITED STATES ATTORNEY




Date                                   Karl Knoche
                                       Chief, Criminal Division




ilMlh
Date                                  Jennifer Kirfiland
                                       Lssistant United States Attorney




Date                                  Marcela Mateo
                                      Assistant United States Attorney




                                        11
    Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 15 of 16



      I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




                                            )oni Grant
                                        Defendant




      I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with her. I believe that she fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.




                                                a nols^y
                                          efendant's Attorney




                                          12
     Case 2:18-cr-00050-LGW-BWC Document 755 Filed 10/29/19 Page 16 of 16




                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                        BRUNSWICK DIVISION


UNITED STATES OF AMERICA                     Case No. 2:18-cr-050


V.



EBONI GRANT

                                       ORDER


       The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the defendant's

attorney at a hearing on the defendant's motion to change his plea and the Court

finding that the plea of guilty is made freely, voluntarily and knowingly, it is

thereupon,

       ORDERED that the plea of gxulty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.

       This 2-^ day of October 2019.



                                        HONQR^LE LISA GODBEY WOOD
                                        UNI/eD STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF GEORGIA
